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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                          :       CHAPTER 11
                                                :
SCUNGIO BORST & ASSOCIATES, LLC, :                      BANKRUPTCY NO. 22-10609(AMC)
                                 :
                        Debtor.                 :
                                                :

                                  CERTIFICATE OF SERVICE

         I, Aris J. Karalis, Esquire, do hereby certify that on January 4, 2024 I caused to have served

a copy of the Notice of Identity of SBA Plan Trust Administrator in Connection with the Modified

Joint Plan of Liquidation (with Technical Modifications) proposed by Scungio Borst & Associates,

LLC, Debtor-in-Possession, and The Official Committee of Unsecured Creditors of the Estate of

Debtor upon the parties on the attached list in the manner indicated thereon.


                                                KARALIS PC


                                                By:     /s/ Aris J. Karalis
                                                        ARIS J. KARALIS

                                                        Attorneys for the Debtors
Dated: January 4, 2024
              Case 22-10609-amc              Doc 374-1 Filed 01/04/24 Entered 01/04/24 18:27:10                        Desc
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